                                                  U.S. Department of Justice
                                                                                                     '
                                                  United States Marshals Service
                                                  Western District of Texas
                                                                                   2U2U FE   2   I       PH   28

                                                 United Slates Courthouse
                                                 525 Magoffin Street, Suite 161                               L.
                                                 El Paso, Texas 79901                v
                                                                                                              IT"

                                                 February 7, 2020




MEMORANDUM TO:             United States Attorney's Office
                           Attn: AUSA Jose Luis Gonzalez

              FROM:        Betty Cabrera, Investigative Research Specialist
                           W/TX - El Paso Division - Warrants Section

           SUBJECT:        Notice of Incarceration of Federal Prisoner

The below-named defendant was arrested:


DEFENDANT:                                Patrick Wood CRUSIUS
CASE #(S):                                EP-20-CR-3 89-DCG
VIOLATION(S):                             Hate Crime Resulting in Death
DATE' OF ARREST/DETAINER:                 DETAINER FILED: Febnary 6,2020
                                          * El Paso County Detentioii Facility
INCARCERATED IN:
                                          (County Jail/*BOP/TDC) Contact the USMS Criminal Clerk @
                                          534-6779 to coordinate defendant's arrival.

* Detainerfiled with    El 1so County Detention Facility      by the United States Marshals Service
in El Paso, Texas     . If th defendant is neededfor court, the United States Attorney needs to provide the
United States Marshals Servi4e with a Writ ofHabeas Corpus adprosequendum to bring defendant to court.


cc:   U.S. District Clerk/U.S. Magistrate
      U.S. ProbationfU.S. Pre-Trial
      U.S. Marshals Service (Criminal Clerk)
      U.S. Marshals Service (D.E.O.)
      U.S. Marshals Service (USM123 File)
